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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
ALAN PETERSON,           *
                         *                         No. 17-732V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: September 9, 2020
                         *
SECRETARY OF HEALTH      *                         Stipulation; influenza (“flu”) vaccine;
AND HUMAN SERVICES,      *                         SIRVA; shoulder injury; significant
                         *                         aggravation.
                         *
             Respondent. *
******************** *

Shealene P. Mancuso, Muller Brazil, LLP, Dresher, PA, for Petitioner;
Debra A. Filteau Begley, United States Dep’t of Justice, Washington, DC, for
Respondent.

                             UNPUBLISHED DECISION1

       On September 9, 2020, the parties filed a joint stipulation concerning the
petition for compensation filed by Alan Peterson on June 2, 2017. Petitioner
alleged that the influenza (“flu”) vaccine he received on October 27, 2015, which
is contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), caused
him to suffer a shoulder injury related to vaccine administration (“SIRVA”) or, in
the alternative, caused a significant aggravation of a pre-existing shoulder
condition. Petitioner further alleges that he suffered the residual effects of this
injury for more than six months. Petitioner represents that there has been no prior
award or settlement of a civil action for damages on his behalf as a result of his
condition.

       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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       Respondent denies that the vaccine either caused or significantly aggravated
petitioner’s alleged injury or any other injury, and denies that petitioner’s current
disabilities are the result of a vaccine-related injury.

      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum payment of $25,000.00 in the form of a check payable to
       petitioner. This amount represents compensation for all damages that
       would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 17-732V according to this decision
and the attached stipulation.2


       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




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          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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